                      Case 2:12-cr-00057-MHT-WC Document 278 Filed 02/13/13 Page 1 of 6
AU 245B       (Rev. 09/I1) Judgment in a Criminal Case
              Sheet I



                                          UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA

             UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE
                                  V.

                   ANTOINETTE DJONRET                                            Case Number: 2:12cr57-03-MHT

                                                                                 USM Number: 13847-002 (WO)

                                                                                 Susan G. James
                                                                                Defendant's Attorney
THE DEFENDANT:
  'pleaded guilty to count(s)          Six of the Indictment on October 31 2012
D pleaded nolo contendere to count(s)
  which was accepted by the court.
   was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended              Count

 26 USC 7206(2)                     Fraud and False Statements                                             1/11/2008                   6




   See additional count(s) on page 2

      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
El The defendant has been found not guilty on count(s)
   Count(s) 1, 7-8, 18, 23-24 of Indictment                  is   glare dismissed on the motion of the United States.-

         It is ordered that the defendant rrust notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all lines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitutio
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                        February 8, 2013
                                                                         Date of Imposition of Judgment



                                                                         Is! Myron H. Thompson

                                                                         Signature of Judge


                                                                        MYRON H. THOMPSON, U.S. DISTRICT JUDGE
                                                                         Name of Judge                               hue of Judge


                                                                        February 13, 2013
                                                                         Date
                         Case 2:12-cr-00057-MHT-WC Document 278 Filed 02/13/13 Page 2 of 6
AO 245B          (Rev. 09/11) Judgment in a Criminal Case
V1               Sheet 2 - Imprisonment

                                                                                                                         Judgment Page: 2 of 6
     DEFENDANT: ANTOINETTE DJON RET
     CASE NUMBER: 212cr5703MHT


                                                                     IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
      36 Months This term is to be served concurrently with count is of case no. 2:12cr59-MHT




          ij!1' The court makes the following recommendations to the Bureau of Prisons:
     The court recommends that the defendant be designated to a facility near Montgomery, AL.
     The court recommends that the defendant be designated to a facility where intensive residential drug treatment is available.


          D The defendant is remanded to the custody of the United States Marshal.

          E The defendant shall surrender to the United States Marshal for this district:
              LI at ______ ______                           0 am. LI p.m. on
              LI as notified by the United States Marshal.

              The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                  before 2:00 p.m. on

              Li as notified by the United States Marshal.
              LI as notified by the Probation or Pretrial Services Office.




     I have executed this judgment as follows:




              Defendant delivered on                                                              to

     a-                                                      , with a certified copy of this judgment.



                                                                                                            UNITED STATES MARSHAL


                                                                                   By
                                                                                                         DEPUTY UNITED STATES MARSHAL
                           Case 2:12-cr-00057-MHT-WC Document 278 Filed 02/13/13 Page 3 of 6
AU 245B            (Rev. 09/I1) Judgment in a Criminal Case
V1                 Sheet 3 - Supervised Release

                                                                                                                          Judgment Page: 3 of
 DEFENDANT: ANTOINETTE DJONRET
 CASE NUMBER: 2:12cr57-03-MHT
                                                              SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 1 Year. This term is to served concurrently with counts is and 28s of case no. 2:12cr59-MHT

          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
            The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
            future substance abuse. (Check, fapplicable.)
            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
            The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

     E The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, el seq.)
         as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         works, is a student, or was convicted of a qualifying offense. (Check, 4f applicable.)

     E The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes afine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that ha'e been adopted by this court as well as with any additional condition
 on the attached page.

                                               STANDARD CONDITIONS OF SUPERVISION
       1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
       2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)     the defendant shall support his or her dependents and meet other family responsibilities;
       5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons;
       6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
       7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
             controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
       8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
       9)    the defendant shall not associate with anypersons engaged in criminal activity and shall not associate with any person convicted of a
             felony, unless granted permission to do so by the probation officer;
      10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contraband observed in plain view of the probation officer;
     11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforceimnt officer;
     12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
             permission of the court; and

     13)     as directed by the probation officer, the defendant shall notif!i third parties of risks that may be occasioned by the defendant's criminal
             record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant s compliance with such notification requirement.
                     Case 2:12-cr-00057-MHT-WC Document 278 Filed 02/13/13 Page 4 of 6
AO 245B        (Rev. 09/I1) Judgment in a Criminal Case
vI             Sheet 3C - Supervised Release

 DEFENDANT: ANTOINETTE DJONRET                                                                             Judgment Page: 4 of 6

 CASE NUMBER: 2:12cr57-03-MHT

                                             SPECIAL CONDITIONS OF SUPERVISION
     1. The defendant shall participate in a program of drug testing administered by the United States Probation Office.

     2. The defendant shall provide the probation officer any requested financial information.

     3. The defendant shall not obtain new credit without approval of the probation officer unless in compliance with the
     payment schedule.

     4. The defendant shall submit to a search of her person, residence, office and vehicle pursuant to the search policy of this
     court.
                     Case 2:12-cr-00057-MHT-WC Document 278 Filed 02/13/13 Page 5 of 6


AO 245B          (Rev. 09/I1) Judgment in a Criminal Case
V1               Sheet 5—Criminal Monetary Penalties

                                                                                                                        Judgment Page: 5 of 6
     DEFENDANT: ANTOINETTE DJONRET
     CASE NUMBER: 2:12cr57-03-MHT
                                                    CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                          Assessment                                         Fine                             Restitution
 TOTALS                S 100.00                                          $                                  $ $4,716.00


     El The determination of restitution is deferred until                      An Amended Judgment in a Criminal Case (AO 245C) will be entered
         after such determination.

     Rf The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
         before the United States is paid.

     Name of Payee                                                     Total Loss*               Restitution Ordered Priority or Percentage
      IRS_RACS                                                                                              $4,716.00

      Attn: Mail Stop 6261, Resititution

      333 W. Pershing Avenue

      Kansas City, Missouri 64108




 TOTALS                                                                                 $0.00               $4,716.00


 LI Restitution amount ordered pursuant to plea agreement $ -

 LI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
          fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(1). All of the payment options on Sheet 6 may be subject
          to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

          The court determined that the defendant does not have the ability to pay interest and it is ordered that:

          Wf the interest requirement is waived for the          LI fine V restitution.

          LI the interest requirement for the          LI fine     LI restitution is modified as follows:



 * Findings for the total arrount of losses are required under Chailers 109A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                  Case 2:12-cr-00057-MHT-WC Document 278 Filed 02/13/13 Page 6 of 6


AO 245B       (Rev. 09/11) Judgment in a Criminal Case
vi            Sheet 6—Schedule of Payments

                                                                                                                           Judgment Page: 6 of 6
 DEFENDANT: ANTOINETTE DJONRET
 CASE NUMBER: 2:1 2cr57-03-MHT

                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A        " Lump sum payment of$ 4,816.00                       due immediately, balance due

            R not later than                            , or
                in accordance             fl C, fl D. fl E, or V F below; or

 B F1 Payment to begin immediately (may be combined with                     El C,       L D, or       D F below); or
 C          Payment in equal --                   (e.g., weekly, monthly, quarterly) installments of $- over a period of
                        (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D          Payment in equal - -                    (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                  -       (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from              to a
            term of supervision; or

 E    D Payment during the term of supervised release will commence within                      (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F          Special instructions regarding the payment of criminal monetary penalties:
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101. Any balance of restitution remaining at the start of supervision shall be paid at
            a rate not less than $150 per month.



 Unless the court has expressly ordered otherwise, if thisjudgment imposes imprisonment, payment of criminal monetary penalties is due during
 Imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




      Joint and Several

      Defendant and co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

       Antoinette Djonret, 2:12cr57-03-MHT, $4,716 - total amount, $4,716 -joint and several amount - IRS
       Nakesha Donaldson, 2:12cr57-04-MHT, $4,716 -joint and several amount - IRS
       Jenika Williams, 2:12cr57-02-MHT, $4,716 -joint and several amount - IRS

 0 The defendant shall pay the cost of prosecution.

 0 The defendant shall pay the following court cost(s):

 0 The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
